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17                                UNITED STATES DISTRICT COURT
18                                    DISTRICT OF NEVADA
19
     LAS VEGAS POLICE PROTECTIVE ASSOCIATION            CASE NO. 2:15-cv-01928-LDG-CWH
20
     METRO INC.; LAS VEGAS METRO POLICE
21   MANAGERS & SUPERVISORS ASSOCIATION,
                                                        MOTION FOR PRELIMINARY
22                  Plaintiffs,                         INJUNCTION AND MEMORANDUM
23                                                      IN SUPPORT OF MOTION FOR
            vs.
                                                        PRELIMINARY INJUNCTION
24
     LAS VEGAS METROPOLITAN POLICE
25   DEPARTMENT;
26                  Defendant.
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 1            TO THE COURT AND DEFENDANT AND NEVADA ATTORNEY GENERAL:
 2   Plaintiffs hereby move for a preliminary injunction against Metro’s enforcement of Section 1 of
 3   SB 241 against Plaintiffs. This motion is based on the memorandum below and the declarations
 4   filed herewith of Mark Chaparian, John Faulis, Melissa Johanning and Andrew Kahn.
 5         MEMORANDUM IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
 6   I.       INTRODUCTION AND SUMMARY
 7            The Nevada Legislature in May 2015 through SB 241 enacted a ban on local
 8   governments providing paid leave to public employees engaging in the First Amendment-
 9   protected activities of advocating on behalf of employee organizations. The Legislature did not
10   ban paid leaves to work against unions, nor ban paid leaves to advocate for various other
11   organizations, nor ban local spending on other types of advocacy, nor ban paid leaves for state
12   employees’ representatives. SB 241 represents impermissible viewpoint discrimination of the
13   sort which has invalidated federal, state and local funding restrictions in Rosenberger v. Regents,
14   Univ. Va , 515 U.S. 819 (1995), Legal Services Corp. Velasquez, 531 U.S. 533 (2001) and other
15   cases. Defendant Metro is the agency responsible for carrying out SB 241 and actively doing so,
16   but the Attorney General is being served with these moving papers as well. Plaintiff
17   Associations have heretofore been staffed primarily by Metro employees on paid leave. SB 241
18   will severely cripple the speech and associational activities of Plaintiff Associations. This Court
19   should issue a preliminary injunction against enforcement of SB 241.
20   II.      STATEMENT OF FACTS
21            The American Legislative Exchange Council (ALEC) has advocated for a variety of
22   model bills to reduce the effectiveness of unions, one of which bans public agencies from
23   providing paid leaves for union representatives. See www.alec.org/model-legislation/prohibition
24   -on-paid-union-activity-release-time-by-public-employees-act/. With the arrival in the
25   Legislature of new majorities opposed by labor organizations, ALEC’s bill was presented
26   through AB 182 and SB 241. The latter was enacted in May 2015 and provides as follows: “A
27   local government employer may agree to provide leave to any of its employees for time spent by
28   the employee in performing duties or providing services for an employee organization if the full

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 1   cost of such leave is paid or reimbursed by the employee organization or is offset by the value of
 2   concessions made by the employee organization in the negotiation of an agreement with the local
 3   government employer pursuant to this chapter.” While Section 6 made the bill effective upon
 4   enrollment (which occurred June 1, 2015), Section 5 of SB 241 delays its onset where it is
 5   contrary to current labor agreements until those expire.
 6          All labor organizations at Metro have for decades had provisions in their labor
 7   agreements providing paid leave for a certain amount of hours and positions, typically one
 8   representative for each 400 employees. Nearly all these associations’ non-clerical
 9   representational staffing comes from Metro employees on leave. See para. 1 of Declarations of
10   John Faulis, Mark Chaparian, and Melissa Johanning filed herewith.
11          The labor agreement between Metro and Las Vegas Police Protective Association
12   Civilian Employees Inc., (known as “PPACE”) expired June 30, 2015 and Metro refused to
13   continue the prior provisions in effect, citing SB 241. PPACE has been forced to spend half of
14   its reserves in just the first year alone paying for its four representatives, and now cannot afford
15   to join as a plaintiff here. PPACE represents approximately 1300 clericals and other
16   noncommissioned personnel at Metro. Johanning Decl. paras. 1-2.
17          Plaintiff Las Vegas Police Protective Association Metro Inc. (“PPA”) represents
18   approximately 2835 commissioned officers employed by Metro. Its 7 top officers are Metro
19   officers who are on paid leave. Chaparian Decl. para. 1. Plaintiff Las Vegas Police Managers
20   and Supervisors Association (PMSA) represents approximately 430 officers through two
21   representatives who are on paid leave from their Metro jobs. Faulis Decl. para. 1. Both of these
22   associations have agreements in place until July 1, 2016. Id.
23          A significant part of the Associations’ work is the nonadversarial work of administering
24   health benefits for Metro’s employees, a function normally done by employer benefit staff
25   elsewhere (Metro has none). Johanning, Faulis, Chaparian Decls. para. 3.
26          Absent such paid leave, these representatives would not be able to continue serving as
27   such, as they do not have accrued vacation sufficient to fund the full-time nature of their union
28   advocacy, and would lose irreparable benefits by quitting their Metro jobs. Id.

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 1          Some of their work is meeting with Metro managers to review grievances or discuss
 2   potential changes to working conditions. If they were forced to meet after regular hours, both the
 3   union representatives and the managers would be working long into the evenings and be
 4   exhausted and less effective. Chaparian, Faulis, Johanning para. 7. Some of their work is
 5   counseling employees who are running into problems at work, helping them obtain professional
 6   assistance and improve their performance. Id. para. 8.
 7          To afford reimbursement of its current representatives’ pay and benefits, PPACE would
 8   have to nearly double its rate of dues. Most associations’ bylaws require a vote of the
 9   membership to amend the bylaws after advance notice and a substantial campaign. The
10   members would likely not approve an increase as high as would be required to sustain the current
11   level of advocacy services. Johanning Decl. para. 3. Moreover, as Nevada is a “right to work”
12   state, many members would react to a large dues increase by “voting with their feet” and leaving
13   the union, making it less effective as a bargaining agent. Id.
14          The Plaintiffs’ financial situation is slightly less dire than PPACE, but similar problems
15   would result: SB 241 would still force them to attempt to increase dues’ revenues (with a likely
16   loss of members and hence organizational clout) or to cut representational services with similar
17   effects. Chaparian, Faulis Decls. para. 3. Having fewer representatives would mean reduced
18   membership and reduced ability to communicate with the workforce and reduced clout as
19   organizations. Id. para. 4.
20          Metro employees have received and continue to receive paid leaves to work for the
21   following advocacy organizations: Black Police Officers Association; Latino Peace Officers
22   Association; Nevada Chiefs and Sheriffs Associations; Police Athletic League; DARE; and crisis
23   intervention groups. Faulis, Chaparian, Johanning Decls. para. 6. Nothing in SB 241 bans this.
24   Moreover, every session localities spend several millions of dollars on lobbying in Carson City,
25   which again the Legislature has not banned. Ex. A to Kahn Decl.
26          Nevada state employees are entitled to paid leaves to represent state employees on state
27   boards and commissions dealing with employment issues: see NAC 284.589(6) (c); NRS
28   284.068, 284.030; 285.030. Again, SB 241 left this practice alone.

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 1   III.      ARGUMENT
 2
            A. Plaintiff Associations and Their Members Face Irreparable Injuries Warranting
 3             Injunctive Relief
 4             The Associations face a Hobson’s choice: they can try to reimburse Metro for

 5   representatives’ pay, but doing so would force them to substantially curtail the other advocacy

 6   functions they engage in, such as legal representation of officers. The Associations could lay off

 7   their representatives, but that means they will engage in less speech with (and on behalf of) their

 8   members. Much of such speech is mandated by state law’s duty of fair representation (for such

 9   speech consists of negotiating a contract and filing grievances to enforce a contract as to which

10   the association is the exclusive representative). See, e .g., Nevada Service Employees Union v.

11   Orr, 121 Nev. 675, 119 P.3d 1259 (2005) (upholding union’s liability for damages for breaching

12   DFR for not pursuing grievance). 1 The Associations could try to get dues doubled to maintain

13   their current level of representation, but doing so would require a lengthy difficult process to

14   obtain a vote of the membership, which means rather than devoting time to advocating for their

15   members and directly helping their members, representatives’ time (and speech) must be devoted

16   instead to campaigning for a dues increase. Even if a majority were to approve the increase,

17   dissenters could and would just drop membership entirely as permitted by the state’s right to

18   work law – meaning their communications with the associations will be curtailed, as will be the

19   associations’ clout. Members will no doubt demand higher wage increases from Metro in the

20   next negotiations in order to help soften the blow of higher dues, which in turn will dramatically

21   cripple the bargaining process. Johanning, Faulis, Chaparian Decls.

22             In other words, any way one slices it, SB 241 cripples the speech and associational

23   activities of Plaintiff Associations. This type of injury is widely-recognized as irreparable in

24   nature and so serious that the likelihood of success need not be as high as would otherwise be

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       Also, officers are entitled under NRS 289.080 to representation in any internal or external
27   investigation or hearing challenging their conduct, and in such proceedings “[a] representative of
28   a peace officer must assist the peace officer during the interview, interrogation or hearing.” NRS
     289.080(3).
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 1   required. See, e.g., Sammartano v. First Judicial Dist. Court, in & for Cnty. of Carson City, 303
 2   F.3d 959, 973-74 (9th Cir. 2002):
 3          The Supreme Court has made clear that “[t]he loss of First Amendment freedoms, for
            even minimal periods of time, unquestionably constitutes irreparable injury” for purposes
 4
            of the issuance of a preliminary injunction. Elrod v. Burns, 427 U.S. 347, 373, 96 S.Ct.
 5          2673, 49 L.Ed.2d 547 (1976); see also S.O.C., Inc. v. County of Clark, 152 F.3d 1136,
            1148(9th Cir.1998) (holding that a civil liberties organization that had demonstrated
 6
            probable success on the merits of its First Amendment overbreadth claim had thereby
 7          also demonstrated irreparable harm). The district court refused to assume the existence
 8          of this injury because it found that Appellants had not “clearly established” that their First
            Amendment rights had been violated. However, even if the merits of the constitutional
 9          claim were not “clearly established” at this early stage in the litigation, the fact that a case
10          raises serious First Amendment questions compels a finding that there exists “the
            potential for irreparable injury, or that at the very least the balance of hardships tips
11
            sharply in [Appellants'] favor.” Viacom Int'l, Inc. v. FCC, 828 F.Supp. 741,
12          744(N.D.Ca.1993). “Under the law of this circuit, a party seeking preliminary injunctive
            relief in a First Amendment context can establish irreparable injury sufficient to merit the
13
            grant of relief by demonstrating the existence of a colorable First Amendment claim.” Id.
14          (citing San Diego Committee v. Governing Board, 790 F.2d 1471 (9th Cir.1986)).
15          Because the test for granting a preliminary injunction is “a continuum in which the
            required showing of harm varies inversely with the required showing of meritoriousness,”
16          when the harm claimed is a serious infringement on core expressive freedoms, a plaintiff
17          is entitled to an injunction even on a lesser showing of meritoriousness. See San Diego
            Committee, 790 F.2d at 1473 n. 1.
18
19   See also ProtectMarriage.com v. Bowen, 599 F. Supp. 2d 1197, 1225 (E.D. Cal. 2009)

20   (following above language in Sammartano).

21          There are also more concrete irreparable harms here. Metro employs none of its own

22   personnel to handle health benefit administration. Metro instead uses the Associations’ on-leave

23   representatives for many such functions. Chaparian, Faulis, Johanning Decls. Para. 3. Cutting

24   them will adversely impact health benefit administration to the detriment of Metro, the

25   Associations, their members and their dependents.

26          The harm to Metro and the State from issuing a preliminary injunction are minimal or

27   nonexistent. If SB 241 is ultimately upheld, Plaintiffs will reimburse Metro for the paid leave

28   continued during the pendency of these proceedings.

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 1      B. Plaintiffs Are Likely To Prevail On The Merits
 2          The First Amendment protects Plaintiffs from having paid leave curtailed on the basis of
 3   their views and associational status, namely their support for local labor organizations as
 4   opposed to supporting community organizations or expressing anti-union views or representing
 5   State employees. This First Amendment protection flows from a series of decision where
 6   government restrictions on funding for private organizations’ speech have been struck down
 7   where based on identity of speaker or viewpoint. For example, the Supreme Court struck down a
 8   law barring religious student groups from public university funding provided to other groups,
 9   even though the university showed scarcity of funds, in Rosenberger v. Rector & Visitors of
10   Univ. of Virginia, 515 U.S. 819, 835 (1995) (granting injunctive relief to Christian organizations
11   refused funding due to public agency’s refusal to fund any student organizations with religious
12   orientation). The Court noted:
13          The University urges that, from a constitutional standpoint, funding of speech differs
14          from provision of access to facilities because money is scarce and physical facilities are
            not. Beyond the fact that in any given case this proposition might not be true as an
15          empirical matter, the underlying premise that the University could discriminate based on
            viewpoint if demand for space exceeded its availability is wrong as well. The
16          government cannot justify viewpoint discrimination among private speakers on the
17          economic fact of scarcity.

18          This decision precludes Defendants from relying on the stated legislative motive here of
19   saving taxpayer dollars. Moreover, if the Legislature’s primary concern was protecting
20   taxpayers against funds being spent for advocacy, the Legislature would also have banned leaves
21   for anti-union advocacy and other causes and for state employees’ representatives, and indeed
22   banned localities from spending money on lobbying regardless of whether carried out by public
23   employees.
24          The Rosenberger doctrine is not limited to funding of student groups. It was applied to
25   funding of legal services in Legal Services Corp. v. Velasquez, 531 US 533 (2001):
26
                    Neither the latitude for government speech nor its rationale applies to subsidies
27          for private speech in every instance, however. As we have pointed out, "[i]t does not
            follow . . . that viewpoint-based restrictions are proper when the [government] does not
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            itself speak or subsidize transmittal of a message it favors but instead expends funds to
 1          encourage a diversity of views from private speakers. " Rosenberger, supra, at 834.
 2
                     Although the LSC program differs from the program at issue in Rosenberger in
 3          that its purpose is not to "encourage a diversity of views," the salient point is that, like the
            program in Rosenberger, the LSC program was designed to facilitate private speech, not
 4          to promote a governmental message. Congress funded LSC grantees to provide attorneys
 5          to represent the interests of indigent clients. In the specific context of § 504(a)(16) suits
            for benefits, an LSC-funded attorney speaks on the behalf of the client in a claim against
 6          the government for welfare benefits. The lawyer is not the government's speaker. The
            attorney defending the decision to deny benefits will deliver the government's message in
 7          the litigation. The LSC lawyer, however, speaks on the behalf of his or her private,
 8          indigent client. * * *

 9                  It is fundamental that the First Amendment "`was fashioned to assure unfettered
            interchange of ideas for the bringing about of political and social changes desired by the
10          people.'" New York Times Co. v. Sullivan, 376 U. S. 254, 269 (1964) (quoting Roth v.
11          United States, 354 U. S. 476, 484 (1957)). * * * Congress was not required to fund an
            LSC attorney to represent indigent clients; and when it did so, it was not required to fund
12          the whole range of legal representations or relationships. The LSC and the United States,
            however, in effect ask us to permit Congress to define the scope of the litigation it funds
13          to exclude certain vital theories and ideas. The attempted restriction is designed to
14          insulate the Government's interpretation of the Constitution from judicial challenge. The
            Constitution does not permit the Government to confine litigants and their attorneys in
15          this manner. We must be vigilant when Congress imposes rules and conditions which in
            effect insulate its own laws from legitimate judicial challenge. Where private speech is
16
            involved, even Congress' antecedent funding decision cannot be aimed at the suppression
17          of ideas thought inimical to the Government's own interest. Regan v. Taxation With
            Representation of Wash., 461 U. S. 540, 548 (1983); Speiser v. Randall, 357 U. S. 513,
18          519 (1958). For the reasons we have set forth, the funding condition is invalid.
19
20   Similarly here, barring paid leave for union representatives cripples those with a legal duty to

21   represent employees, while allowing anti-union employees to continue receiving paid leave.

22          The principles in these cases were applied to a context similar to that here in United Food

23   & Commercial Workers Local 99 v. Brewer, 817 F. Supp. 2d 1118, 1124 (D. Ariz. 2011), where

24   a legislature banned government agencies from allowing their payroll systems to be used for

25   deducting dues for some unions who spent money on politics unless those unions met certain

26   requirements:

27         The statute specifically exempts from its regulatory structure payroll deductions for
           contributions to charitable organizations; payments to organizations that administer
28
           healthcare, retirement, or welfare benefits; payment of taxes; and donations to unions'
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            political action committees. A.R.S. § 23–361.02(E). Five types of public safety
 1          employees, including police officers, firefighters, corrections officers, probation officers,
 2          and surveillance officers, are exempted from the law's definition of “employee.” Id.
            § 23–361.02(H). As a result, the burdens imposed by the law do not fall equally on
 3          similarly-situated groups. The law therefore violates the First Amendment by
            discriminating against “those wishing to express less favored or more controversial
 4
            views.” Police Dept. of City of Chicago v. Mosley, 408 U.S. 92, 96, 92 S.Ct. 2286, 33
 5          L.Ed.2d 212 (1972).

 6                  Viewpoint discrimination occurs when the government burdens “speech by
            particular speakers, thereby suppressing a particular view about a subject.” Moss v. U.S.
 7          Secret Service, 572 F.3d 962, 970 (9th Cir.2009) (internal quotations omitted). Statutes
 8          engage in viewpoint discrimination when they place “special prohibitions on those
            speakers who express views on disfavored subjects.” R.A.V. v. St. Paul, 505 U.S. 377,
 9          391, 112 S.Ct. 2538, 120 L.Ed.2d 305 (1992). “The government must abstain from
            regulating speech when the specific motivating ideology or the opinion or perspective of
10
            the speaker is the rationale for the restriction.” Rosenberger v. Rector and Visitors of the
11          University of Virginia, 515 U.S. 819, 829, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995). On
            the other hand, “laws that confer benefits or impose burdens on speech without reference
12          to the ideas or views expressed are in most instances content neutral.” Turner Broad.
            Sys. v. F.C.C., 512 U.S. 622, 643, 114 S.Ct. 2445, 129 L.Ed.2d 497 (1994).
13
14                  A regulation that burdens speech may discriminate by viewpoint through its
            underinclusiveness—that is, because it fails to burden all similarly situated parties
15          equally. In particular, “an exemption from an otherwise permissible regulation of speech
            may represent a governmental ‘attempt to give one side of a debatable public question an
16
            advantage in expressing its views to the people.’ ” City of Ladue v. Gilleo, 512 U.S. 43,
17          51, 114 S.Ct. 2038, 129 L.Ed.2d 36 (1994) (quoting First Nat. Bank of Boston v. Bellotti,
            435 U.S. 765, 785, 98 S.Ct. 1407, 55 L.Ed.2d 707 (1978)). “Underinclusiveness raises
18          serious doubts about whether the government is in fact pursuing the interest it invokes,
            rather than disfavoring a particular speaker or viewpoint.” Brown v. Entertainment
19
            Merchants Ass'n., ––– U.S. ––––, 131 S.Ct. 2729, 2740, 180 L.Ed.2d 708 (2011).
20
21          There Judge Snow enjoined agencies from following the new state statute. The same

22   result is required here. There can no question as to the absence of the compelling state interest

23   required to ban only local government union leave and not other advocacy spending. Such leave

24   serves vital public purposes and was not assented to by local agencies on a whim but rather

25   equally benefits the agency: for example, it makes it likelier the union representatives will be

26   rank-and-file employees familiar with current conditions in the workplace rather than “hired

27   guns” from the outside with less familiarity; it allows public sector managers to conduct during

28   regular business hours the frequent meetings with employee representatives required by their

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 1   duties to bargain and address grievances, rather than making them work absurdly-long hours.
 2   Johanning, Chaparian, Faulis para. 7. Metro employs none of its own personnel to handle
 3   benefit administration (unlike most other employers, which either have an HR department or an
 4   outside contractor handle such functions), but instead Metro uses the Associations’ on-leave
 5   representatives for many such functions. Johanning para. 3; Chaparian, Faulis para. 2.
 6   Association representatives counsel employees with problems to get the help they need.
 7   Johanning, Chaparian, Faulis para. 8. These are all important public benefits. 2
 8           Nor is the speech of Plaintiffs’ leaders of doubtful protection under the First Amendment.
 9   It is well-settled that government cannot punish public employees for their organizational
10   activities and speech favoring unionization without violating the First Amendment. See, e.g.,
11   Morfin v. Albuquerque Pub. Sch., 906 F.2d 1434, 1438 (10th Cir. 1990)(“The First Amendment
12   protects the right of a public employee to join and participate in a labor union. [cite]”); Thomas
13   v. County of Riverside , 763 F.3d 1167 (9th Cir. 2014); McKinley v. City of Eloy, 705 F.2d 1110
14   (9th Cir. 1983).
15           While Plaintiffs could prove an improper subjective motive on the part of the legislative
16   majority, they do not need to, because the objective characteristics of its enactment is enough:
17   singling out one set of advocates alone to ban from receiving funds. This is made clear by the
18
19   2
       See also Amidon v. Student Ass'n of State Univ. of New York at Albany, 508 F.3d 94, 100-01
20   (2d Cir. 2007)(“The denial of funding in a viewpoint-discriminatory manner is as impermissible
     as the denial of access to a physical forum in a viewpoint-discriminatory manner. [citing
21   Rosenberger, supra] *** A university's viewpoint-discriminatory decision respecting how much
22   funding to allocate to an RSO raises the same concerns as a viewpoint-discriminatory decision
     respecting whether to fund an RSO at all. The level of funding a group receives may serve as an
23   expression of approval or disapproval of the group's message. And the amount allocated to a
     group, whether a lot or a little, can skew debate on issues on which the group advocates a
24   position. In this context, a comparatively low level of funding may not be much different than a
25   complete denial of funding. A parallel lies in the realm of campaign contributions: ‘A restriction
     on the amount of money a person or group can spend on political communication during a
26   campaign necessarily reduces the quantity of expression by restricting the number of issues
     discussed, the depth of their exploration, and the size of the audience reached. This is because
27   virtually every means of communicating ideas in today's mass society requires the expenditure of
28   money.’ Buckley v. Valeo, 424 U.S. 1, 19, 96 S.Ct. 612, 46 L.Ed.2d 659 (1976) (per curiam)”).

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 1   Supreme Court’s recent decision in Reed v. Town of Gilbert, 135 S. Ct. 2218, 2228, 192 L. Ed.
 2   2d 236 (2015):
 3          A law that is content based on its face is subject to strict scrutiny regardless of the
 4          government's benign motive, content-neutral justification, or lack of “animus toward the
            ideas contained” in the regulated speech. Cincinnati v. Discovery Network, Inc., 507 U.S.
 5          410, 429, 113 S.Ct. 1505, 123 L.Ed.2d 99 (1993). We have thus made clear that “‘[i]llicit
            legislative intent is not the sine qua non of a violation of the First Amendment,’ ” and a
 6          party opposing the government “need adduce ‘no evidence of an improper censorial
 7          motive.’ ” Simon & Schuster, supra, at 117, 112 S.Ct. 501. Although “a content-based
            purpose may be sufficient in certain circumstances to show that a regulation is content
 8          based, it is not necessary.” Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 642,
            114 S.Ct. 2445, 129 L.Ed.2d 497 (1994). In other words, an innocuous justification
 9          cannot transform a facially content-based law into one that is content neutral.
10
     Reed also consolidated the Court’s doctrine of treating speaker-based regulation of speech as a
11
     type of content-based regulation. The Ninth Circuit had characterized the Town’s sign ordinance
12
     as “turning on ‘the content-neutral elements of who is speaking through the sign and whether and
13
     when an event is occurring.’” Reed v. Town of Gilbert, 707 F.3d 1057, 1069 (9th Cir. 2013). The
14
     Supreme Court rejected such reasoning: “because ‘[s]peech restrictions based on the identity of
15
     the speaker are all too often simply a means to control content,’ we have insisted that ‘laws
16
     favoring some speakers over others demand strict scrutiny when the legislature’s speaker
17
     preference reflects a content preference.’” Reed, 135 S.Ct. at 2230 (quoting Citizens United v.
18
     Federal Election Comm’n, 558 U.S. 310, 340 (2010) and Turner Broadcasting Sys., Inc. v. FCC,
19
     512 U.S. 622, 658 (1994)); see Citizens United, 558 U.S. at 340-41 (“Quite apart from the
20
     purpose or effect of regulating content, moreover, the Government may commit a constitutional
21
     wrong when by law it identifies certain preferred speakers. . . . The First Amendment protects
22
     speech and speakers, and the ideas that flow from each.”). Thus the Legislature’s targeting of
23
     labor organizations alone for stripping of leave rights requires strict scrutiny.
24
            Here, the proferred justifications of saving taxpayer money and not paying for critics of
25
     government (see Ex. B to Kahn Decl.) both do not amount to the compelling state interest
26
     required by the strict scrutiny test applicable here. See United Bhd. of Carpenters & Joiners of
27
     Am. Local 586 v. N.L.R.B., 540 F.3d 957, 965 (9th Cir.2008) (“Because free speech protections
28
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 1   were designed to protect critical speech, we cannot find the suppression of critical speech to be a
 2   compelling interest.”); Citizens United, supra, 558 U.S. at 348-56 (reducing the influence of self-
 3   interested businesses in politics not a compelling state interest); Shapiro v. Thompson, 394 U.S.
 4   618, 633 (1968)(“The saving of welfare costs cannot justify an otherwise invidious
 5   classification.”); Graham v. Richardson, 403 U.S. 365, 374 (1971)(“a concern for fiscal integrity
 6   is no more compelling a justification for the questioned classification in these cases that it was in
 7   Shapiro.”). 3
 8           Strict scrutiny not only requires a compelling state interest, but also that the statute be
 9   “narrowly tailored to achieve that interest.” Citizens United, 558 U.S. at 340. Here, SB 241 is
10   both underinclusive and overbroad in addressing the purported state interest: it is underinclusive
11   in not banning leaves for state employee representation nor leaves for non-labor advocacy nor
12   lobbying expenditures by local governments. It is overbroad in banning any paid leave for
13   employee organization work even when used for nonadversarial purposes such as administering
14   benefit plans and counseling workers on ways to improve job performance.
15   //      //
16
17   //      //
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19   //      //
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21   //      //
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23   3
      See also Chicago Acorn, SEIU Local No. 880 v. Metro. Pier & Exposition Auth., No. 96 C
     4997, 1998 WL 164882, at *14 (N.D. Ill. Apr. 2, 1998), vacated on other grounds, 150 F.3d 695
24   (7th Cir. 1998)(“First Amendment precedent has refused to recognize risks far more serious than
25   economic harm as compelling interests. See Terminiello v. City of Chicago. 337 U.S. 1, 69 S.Ct.
     894, 93 L.Ed. 1131 (1949) (holding risk of rioting in response to speech is not compelling
26   interest); Cohen v. California, 403 U.S. 15, 91 S.Ct. 1780, 29 L.Ed.2d 284 (1971) (holding need
     to maintain courthouse order is not sufficiently compelling to suppress speaker's profane
27   message). As a matter of law, the desire to protect commercial and economic interests does not
28   qualify as a compelling governmental interest sufficient to deny the plaintiffs access to
     traditional public or designated fora within the Pier.”).
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 1   IV.    CONCLUSION
 2          Given recent U.S. Supreme Court First Amendment caselaw, Plaintiffs have shown they
 3   have a reasonable likelihood of success in their constitutional challenge to SB 241. The balance
 4   of irreparable injuries substantially favors granting a preliminary injunction against Metro’s use
 5   of SB 241.
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 7   Dated: October 9, 2015                McCRACKEN STEMERMAN & HOLSBERRY

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